                                                                                Case 4:13-md-02420-YGR Document 639 Filed 01/20/15 Page 1 of 1



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                                                                         8                                   UNITED STATES DISTRICT COURT
                                                                         9                                 NORTHERN DISTRICT OF CALIFORNIA
                                                                         10
United States District Court




                                                                         11   IN RE:                                                  No. 13-MD-02420 YGR (DMR)
                               For the Northern District of California




                                                                         12                                                           ORDER ON JOINT STATUS REPORT
                                                                                       LITHIUM ION BATTERIES                          RE CAPACITY AND UTILIZATION
                                                                         13            ANTITRUST LITIGATION                           DATA [DOCKET NO. 632]
                                                                         14
                                                                         15   ___________________________________/
                                                                         16
                                                                         17            The court has reviewed the January 16, 2015 Joint Status Report about the parties’
                                                                         18   negotiations regarding capacity and capacity utilization data. [Docket No. 632.] The court hereby
                                                                         19   orders the parties to jointly report to the court by February 11, 2015 regarding the status of their
                                                                         20   negotiations.
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